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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
                                                §
VS.                                             §     CRIMINAL NO. H-11-340 (1, 3 9, 10)
                                                §
                                                §
THUONG HONG NGUYEN                              §
THUONG THOMAS-MORE VO                           §
STEVEN MARSHALL BOEHNING                        §
HUNG VAN DANG                                   §

                                            ORDER

         The motion to stay the order compelling the voice exemplars is denied. (Docket Entry No.

306).

                SIGNED on August 2, 2012, at Houston, Texas.


                                                    ______________________________________
                                                             Lee H. Rosenthal
                                                       United States District Judge
